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                         HEAD KANDY, LLC. vs KAYLA MCNEILL
                    Melia Arnett-Archie, JD, CIPP/US, CIPM on 09/04/2024

    ·1· · · · · · · · UNITED STATES DISTRICT COURT
    · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
    ·2· · · · · · · · · · · ·FT. LAUDERDALE

    ·3· · · · · · · · · CASE NO: 0:23-cv-60345-JB

    ·4· ·HEAD KANDY, LLC.,

    ·5· · · ·Plaintiff,

    ·6· ·vs.

    ·7· ·KAYLA MCNEILL,

    ·8· · · ·Defendant.

    ·9· ·________________________________/

    10· · · · · · · · VIDEOTAPED DEPOSITION OF
    · · · · · · · · · ·MELIA ARNETT-ARCHIE,
    11· · · · · · · · · ·JD, CIPP/US, CIPM

    12

    13· · · ·Taken on Behalf of the Plaintiff

    14

    15· · · · · · · DATE:· · September 4, 2024

    16· · · · · · · TIME:· · 11:00 a.m. to 4:05 p.m.

    17· · · · · · · PLACE:· ·Zoom Video Conference

    18· · · ·Examination of the witness taken before

    19· · · · · · ·Lori W. Pyron,
    · · · · · · · ·Florida Professional Reporter
    20· · · · · · ·Notary Public

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    ·2

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    ·1· · · ·Q.· · Okay.
    ·2· · · ·A.· · And I'm also part owner in my husband's· ·--
    ·3· I don't know if this is relevant, but All Natural Pet
    ·4· Food Franchise Group.
    ·5· · · ·Q.· · All right.· And what would you say is your
    ·6· primary occupation?
    ·7· · · ·A.· · I manage and run my law firm, Modern Creators
    ·8· Law Firm.
    ·9· · · ·Q.· · All right.· Can you give me a physical
    10· address for the Modern Creators Law Firm?
    11· · · ·A.· · Yes.· 901 South Federal Highway, Suite 102,
    12· Fort Lauderdale, Florida 33316.
    13· · · ·Q.· · All right.· And what would be the best phone
    14· number to reach you if that need ever arose?
    15· · · ·A.· · 954-315-3880.
    16· · · ·Q.· · All right.· Ma'am, you've been identified and
    17· produced a report as an expert witness for Ms. Kayla
    18· McNeill in this lawsuit.· Are you aware of that?
    19· · · ·A.· · I am.
    20· · · ·Q.· · Have you ever before served as an expert
    21· witness in any State or Federal Court proceedings,
    22· regardless of whether you ever had to give testimony?
    23· · · ·A.· · I have not.
    24· · · ·Q.· · Do you know how it is you came to be
    25· designated as an expert witness in this case?

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    ·1· · · ·A.· · Correct.
    ·2· · · ·Q.· · And you determined the continuing value of
    ·3· what you called Ms. McNeill's personal page, correct?
    ·4· · · ·A.· · Correct.
    ·5· · · ·Q.· · And you determined from 2019 to 2024 the
    ·6· consequential impact of social media engagement on the
    ·7· Head Kandy's sales, correct?
    ·8· · · ·A.· · So to be clear, I only had full data through
    ·9· 2019 and 2022.· I think the scope would have been
    10· between 2019 to 2024, but I was not provided full sales
    11· data for 2023 or 2024.
    12· · · ·So to answer your question, combing the sales data
    13· for the years 2019 through the entirety of 2022, which
    14· is what I had to evaluate, along with the correlation
    15· analysis to quantify the strength and direction of
    16· that page over that period of time as it relates to
    17· Ms. McNeill's social media engagement and activity.
    18· · · ·And then also using the Regression Analysis to
    19· understand and predict future sales based on the
    20· activity on that page over that time.
    21· · · ·Q.· · Okay.· Is there anything else that you were
    22· asked to do and provide opinions on?
    23· · · ·A.· · No.
    24· · · ·Q.· · In your work did you review a copy of the
    25· Executive Employment Agreement between Ms. McNeill and

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    ·1· Head Kandy?
    ·2· · · ·A.· · I did not.
    ·3· · · ·Q.· · Have you ever reviewed the operating
    ·4· agreement for Head Kandy, LLC., of which Ms. McNeill was
    ·5· a member?
    ·6· · · ·A.· · I have not.
    ·7· · · ·Q.· · Were you provided any information for how
    ·8· Ms. McNeill was compensated by Head Kandy?
    ·9· · · ·A.· · I was not.
    10· · · ·Q.· · Okay.· Did you review any documents that
    11· would show -- strike that.
    12· · · ·Were you aware that Ms. McNeill formally operated
    13· the Head Kandy business under a company that she owned
    14· called Lashed Out, LLC.· Have you ever heard of that?
    15· · · ·A.· · I've not heard of Lashed Out, LLC., no.
    16· · · ·Q.· · Did you review any documents that would show
    17· the ownership over the social media accounts that you
    18· analyzed as part of your engagement?
    19· · · ·A.· · No.
    20· · · ·Q.· · Did you review any agreements between
    21· Ms. McNeill and Head Kandy, LLC., regarding the
    22· ownership of social media accounts?
    23· · · ·A.· · No, I don't believe so.
    24· · · ·Q.· · Did you review any documents between
    25· Ms. McNeill and anyone, regarding the ownership of any

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    ·1· activity on the page over a period of time, and what
    ·2· likely would have been the model forward if that same
    ·3· level of activity by Ms. McNeill had continued over
    ·4· time.
    ·5· · · ·And in using, from my area of expertise, with
    ·6· respect to affiliate marketing, again not understanding
    ·7· what the employment relationship was between Ms. McNeill
    ·8· and Head Kandy, sort of what that average -- not
    ·9· average, excuse me.
    10· · · ·What that affiliate fee would have been for a page
    11· at the same value from a following engagement
    12· prospective of the Kandy Life page.
    13· · · ·Q.· · Got it, okay.· So you don't know how or if
    14· Ms. McNeill was compensated for her social media
    15· engagement activities during her time with Head Kandy,
    16· is that correct?
    17· · · ·A.· · I do not know that, that's correct.
    18· · · ·Q.· · So when you are calculating a value of lost
    19· opportunities and wages after Ms. McNeill is no longer
    20· with Head Kandy, are you assuming that Ms. McNeill had
    21· rights to the Head Kandy page that you were analyzing?
    22· · · ·A.· · I'm sorry.· I got lost somewhere in the
    23· middle of that.· Can you repeat that for me?
    24· · · ·Q.· · Sure.· As part of your opinions regarding
    25· the lost opportunities and wages, are you assuming that

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    ·1· influencer negotiates with the company for a particular
    ·2· compensation, is that correct?
    ·3· · · ·A.· · That's correct.
    ·4· · · ·Q.· · But do you know what compensation
    ·5· Ms. McNeill negotiated for or with Head Kandy?
    ·6· · · · · · ·MR. CONVERSE:· Objection, form.
    ·7· · · · · · ·THE WITNESS:· I do not.
    ·8· BY MR. THOMPSON:
    ·9· · · ·Q.· · I'm sorry.· I didn't hear your answer.
    10· · · ·A.· · I do not.
    11· · · ·Q.· · Okay.· And we'll get to that opinion.
    12· · · ·All right.· We're going to go back to that
    13· engagement letter that's been marked as Exhibit 2.
    14· · · ·You've got the objectives as stated in this
    15· document.· Is this an accurate listing of the objective
    16· that you had for this engagement?
    17· · · ·A.· · Based on my understanding at the time of what
    18· they asked for, yes.· This would be representative of
    19· that.
    20· · · ·Q.· · Did those objectives ever change before you
    21· issued your report?
    22· · · ·A.· · I'm just going to read them one by one, to
    23· make sure that I'm answering --
    24· · · ·Q.· · -- yes, ma'am.
    25· · · ·A.· · Yes.

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    ·1· sure?
    ·2· · · ·Q.· · Please.
    ·3· · · ·A.· · Yeah.· So my conversations would have been
    ·4· sort of for basic context, which is necessary to
    ·5· understand what I'm looking at when I look at the social
    ·6· media accounts, and then just a basic overview of how
    ·7· she managed the page.
    ·8· · · ·Q.· · Okay.· So Ms. McNeill, did she -- can you
    ·9· confirm whether she provided to you any documents?
    10· · · ·A.· · I don't see anything.· I believe everything I
    11· received I would have received directly from the
    12· attorneys.
    13· · · ·Q.· · Did Ms. McNeill explain to you what her
    14· position was at Head Kandy up until the time she was
    15· terminated?
    16· · · ·A.· · We didn't speak in a ton of specificity.                     I
    17· did understand that at one point she owned the company
    18· and it was sold.· As well as at one point she was
    19· primarily responsible for managing the pages, versus a
    20· later point in time over the course of the relationship
    21· I guess she was not managing the social media page, but
    22· these are all things that I -- were made apparent in my
    23· independent review of her social media accounts in terms
    24· of the management of the page.
    25· · · ·Q.· · And did she, Ms. McNeill, explain to you how

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     ·1· she was compensated by Head Kandy?
     ·2· · · ·A.· · No.
     ·3· · · ·Q.· · Did Ms. McNeill tell you any of the rights or
     ·4· responsibilities she had under the Head Kandy, LLC.
     ·5· Operating Agreement?
     ·6· · · ·A.· · No.
     ·7· · · ·Q.· · Did Ms. McNeill explain to you any of the
     ·8· terms of the agreement by which she had sold the company
     ·9· to Head Kandy?
     10· · · ·A.· · No.
     11· · · ·Q.· · Did Ms. McNeill explain to you any of the
     12· terms of her executive employee agreement with
     13· Head Kandy?
     14· · · ·A.· · No.
     15· · · ·Q.· · Previously you referred to, I think you said
     16· the personal Facebook page.· Am I recalling that
     17· correctly?
     18· · · ·A.· · That's correct.
     19· · · ·Q.· · All right.· Why -- well, first, what is the
     20· personal Facebook page you referred to?
     21· · · ·A.· · I'm referring to the page that I reviewed,
     22· which would have been Kandy Life,
     23· · · ·Q.· · Okay.· And why did you call it a personal
     24· Facebook page?
     25· · · ·A.· · Because upon looking -- you know, you can go

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     ·1· · · ·And then again, their ownership doesn't necessarily
     ·2· -- it doesn't matter in terms of my assessment.· I'm
     ·3· going to look at the data in the same way that I would
     ·4· whether she was the owner, or whether she was not the
     ·5· owner, because there's a direct relationship with
     ·6· respect to engagement and sales.
     ·7· · · ·Q.· · All right.· Okay, I think I get it.
     ·8· · · ·So you are looking at the value of the engagement
     ·9· that Ms. McNeill's activities and presence caused and
     10· contributed to Head Kandy, not the value of the page
     11· itself, is that right?
     12· · · ·A.· · Correct.· You have to use the sales data from
     13· Head Kandy to correlate to the activity, right?
     14· · · ·So in that respect, those two are aligned, and you
     15· see a steep decline in sales after a period of time
     16· where engagement on the page of dropped.
     17· · · · Of course you can visually see sort of how the
     18· content is changing over time.· So it is relevant in
     19· terms of overall valuation of the page with respect to
     20· following count an engagement as it correlates to Head
     21· Kandy's sales data that I was given.· If that makes
     22· sense.
     23· · · ·Q.· · Got it, okay.· But ultimately, you are not
     24· offering an opinion as to the value of the page itself,
     25· correct?

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     ·1· · · ·A.· · No.· Not absent the correlation to the sales
     ·2· data.
     ·3· · · ·Q.· · And not -- and you're valuating Ms. McNeill's
     ·4· activities in driving engagement, that value it provided
     ·5· to Head Kandy, correct?
     ·6· · · ·A.· · Well, correct, but also you'd have to take
     ·7· into account how -- it works the other way too.
     ·8· · · ·How the engagement on the page is not only driving
     ·9· sales, but the impact of the activity of Ms. McNeill, in
     10· terms of driving that engagement, and that does impact
     11· the overall value of the page, but that wasn't sort of
     12· the scope of my analysis, per say.
     13· · · ·My scope of the analysis is how was her activity
     14· directly related to spikes in sales, increases in sales,
     15· or not, or declining sales for that matter.
     16· · · ·Q.· · Sure.· So your opinion is going to how her
     17· activity is impacting the sales of Head Kandy, correct?
     18· · · ·A.· · Correct.
     19· · · ·Q.· · All right.· Let's go to what we're going to
     20· mark as Exhibit 4.
     21· · · ·(Whereupon, Plaintiff's Exhibit No. 4 was marked
     22· for identification.)
     23· BY MR. THOMPSON:
     24· · · ·Q.· · This is what is provided to me, titled the
     25· Expert Witness Report, dated March 29, 2024.

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     ·1· right?· Let's start wit that.
     ·2· · · ·So as I understand that, and I think you just
     ·3· told me, if Ms. McNeill during 2019 to 2022 had an
     ·4· agreement for Head Kandy to pay her a standard
     ·5· affiliate commission on sales, she would have earned
     ·6· $8,581,046.51, is that correct?
     ·7· · · ·A.· · That's correct.
     ·8· · · ·Q.· · But you don't know if Ms. McNeill did have an
     ·9· agreement with Head Kandy for it to pay her affiliate
     10· commissions in any amount, correct?
     11· · · ·A.· · No.· So because I don't have context into
     12· her relationship with Head Kandy, from an employment
     13· prospective, from an affiliate marketing prospective.
     14· · · ·I'm looking at the page the way that you would
     15· look across the industry at anyone providing the
     16· services, and driving the level of engagement that
     17· Ms. McNeill would have been driving over that period of
     18· time, to determine how her twenty percent, which is the
     19· standard affiliate marketing rate or the average.
     20· · · ·How she would have benefited from the sales that
     21· she was driving for the company.
     22· · · ·Q.· · Okay.· So this is -- I just want to make sure
     23· I understand what this is.· You're just saying that for
     24· the services that she provided in running that
     25· particular Facebook page, an industry standard

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     ·1· earned profits of $8,581,046.50 from the time period
     ·2· 2019 to 2022?
     ·3· · · ·A.· · I'd have look at the sales data I was
     ·4· provided to see if I knew that information at the time.
     ·5· Off the top of my head, I can't route -- or set out to
     ·6· you what the revenue would have been in 2019 to 2022.
     ·7· I'd have to look.
     ·8· · · ·Q.· · Did Ms. McNeill ever tell you that she had
     ·9· been promised affiliate commissions at the industry
     10· standard rate for the time period 2019 through 2022?
     11· · · ·A.· · No.
     12· · · ·Q.· · Did anybody ever tell you that Ms. McNeill
     13· was entitled to affiliate commissions at the standard
     14· industry rate for the time period 2019 through 2022?
     15· · · ·A.· · No.
     16· · · ·Q.· · All right.· The second part of the other
     17· component of approximately 11.4 million is $2,786,478 in
     18· projected revenue from 2023 to 2024.
     19· · · ·What is that projected revenue from 2023 to 2024
     20· amounting in that approximately 2.8 million dollars?
     21· · · ·A.· · So this would have been the result of the
     22· Regression Analysis when we're looking at sort of the
     23· predicted model based on past trends in sales that are
     24· directly correlated to the activity on the page, what
     25· the revenue would have been for that page, and then

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     ·1· or with the appropriate statistical measure would be to
     ·2· evaluate its relevance to what I'm looking at.· I just
     ·3· want to make that clear.· I'd have to see it to know.
     ·4· · · ·Q.· · Sure, okay.· All right.· Before we take a
     ·5· break let's just finish up with this Exhibit A.
     ·6· · · ·You've got on here Exhibit A to your report, Sales
     ·7· Data and Engagement Data, and where did this chart come
     ·8· from?
     ·9· · · ·A.· · So the sales data would have been data
     10· deprived from the sales data that was provided to me by
     11· Ms. McNeill's attorneys.
     12· · · ·The social media metrics would have been data that
     13· was pulled directly from the Kandy Life Facebook page.
     14· · · ·Q.· · All right.· And who -- so the Kandy Life
     15· Facebook page looks like it's got a date, and then a
     16· post.· How many posts were made on that day?· How many
     17· total likes, comments, and shares, correct?
     18· · · ·A.· · Correct.
     19· · · ·Q.· · And who was it that went and looked at the
     20· posts on these particular dates that are identified to
     21· see how many posts were made, likes, comments, and
     22· shares?
     23· · · ·A.· · I did that myself.
     24· · · ·Q.· · All right.· And how did you determine which
     25· dates to look at for posts?

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     ·1· · · ·A.· · I was looking for outliers in the sales data,
     ·2· or the variances and declines, steep declines in sales,
     ·3· and steep increases in sales.
     ·4· · · ·Q.· · Okay.· So then the dates that you have
     ·5· identified are not -- in this Exhibit A to your report,
     ·6· are not all the dates on which there was -- Ms. McNeill
     ·7· had social media engagement through her -- through the
     ·8· Kandy Life Facebook page?
     ·9· · · ·A.· · No.
     10· · · ·Q.· · Those are just ones that you identified
     11· looking for increases or -- steep increases or decreases
     12· in sales, correct?
     13· · · ·A.· · Correct.
     14· · · ·Q.· · All right.· So I want to make sure I get the
     15· methodology.· So first you have the sales data for the
     16· period, and you looked where -- what, from one day to
     17· the next, and either went up a lot or down a lot.
     18· · · ·A.· · Sometimes it would have been day to day.
     19· Sometimes the activity would have been pretty consistent
     20· throughout a period of days.· And so, you might look
     21· from week to week.
     22· · · ·So you'll see some variance in that based on the
     23· activity on the page, and the corresponding sales data.
     24· · · ·Q.· · And how did you -- did you have a definitive
     25· metric for what you considered a steep increase or

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     ·1· felt were spikes or steep drop offs in sales from one
     ·2· period to next, then you went to the Kandy Life Facebook
     ·3· page, and looked to see if there was a post, and if so
     ·4· determined how many likes, comments, and shares were on
     ·5· that post, correct?
     ·6· · · ·A.· · Yes.
     ·7· · · ·Q.· · All right.
     ·8· · · ·A.· · And to be clear, in the evaluation of the
     ·9· Facebook page, I looked at everything, right?
     10· · · ·So whether or not it corresponded to what I was
     11· seeing in spikes in sales or not, just to understand
     12· overall engagement, and then taking a deeper dive to
     13· then sort of marry up where I saw changes in the sales
     14· data, and sort of what the activity would have been for
     15· that day.
     16· · · ·So I looked at the entire page, just to understand
     17· sort of the overall approach in engagement rates, and
     18· sort of the overall management of the page.· So there
     19· was not one post that I did not evaluate.
     20· · · ·Q.· · Right.· And did you collect data anywhere on
     21· daily sales and posts, and engagements in the form of
     22· likes, comments, and shares for every single day there
     23· were sales?
     24· · · ·A.· · I did not.
     25· · · ·Q.· · So in performing the Regression and Pearson

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     ·1· continuing at 1:25 p.m.)
     ·2· · · · · · ·THE VIDEOGRAPHER:· The time is 1:25 p.m.
     ·3· · · ·Eastern Standard time, and we are now back on
     ·4· · · ·the video record.
     ·5· BY MR. THOMPSON:
     ·6· · · ·Q.· · All right, Ms. Arnett-Archie.· I'm going to
     ·7· go back to the report.· I'm in Exhibit B to it, Page 11.
     ·8· I want to talk about again the affiliate commission.
     ·9· · · ·So when you talk about the industry standard, the
     10· standard affiliate marketer commission rate of twenty
     11· percent.· First of all, what an affiliate marketer?
     12· · · ·A.· · So this would be someone who is contacted by
     13· a brand to produce content, post content, and use their
     14· following count to promote a product in the hopes of
     15· driving sales towards a product.
     16· · · ·Q.· · And is it unusual for companies to have more
     17· than one affiant marketer?
     18· · · ·A.· · No.
     19· · · ·Q.· · Is it common for companies to have more than
     20· one affiliate marketer?
     21· · · ·A.· · I would say so.
     22· · · ·Q.· · And so in each affiliate marketer doesn't get
     23· twenty percent of the company's total sales, do they?
     24· · · ·A.· · Not typically.· In cases where there are,
     25· like this one, there was one person posting and managing

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     ·1· alone.
     ·2· · · ·There would have been over the course of my four
     ·3· year degree, a few classes that had statistics as a
     ·4· component of a prior course.
     ·5· · · ·I could not spout that off to you off of the top of
     ·6· my head, in terms of exactly which courses they were, or
     ·7· where in my four degree I would have taken those.
     ·8· · · ·Q.· · Okay.· Let me ask it this way.· Do you
     ·9· consider yourself to be an expert in statistical
     10· analysis?
     11· · · ·A.· · I consider myself to be an expert in the
     12· application of statistical analysis to the evaluation
     13· risks and of data, akin to the data that I was asked to
     14· assess in this case, yes.
     15· · · ·Q.· · And when you are representing clients in your
     16· law practice, have you had opportunities to consider
     17· analysis of data, so that you could then provide advice
     18· to your clients?
     19· · · ·A.· · So specifically going back to my time at
     20· Striker Corporation, this was an applied skill that was
     21· learned from sort of privacy engineering over the course
     22· of course work and becoming certified as a Certified
     23· Information Privacy Professional for the US, and I was
     24· a privacy manager.
     25· · · ·These are also components of that program where we

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     ·1· use statistical methodologies like the Pearson
     ·2· Correlation Coefficient.· And Regression modeling, to
     ·3· work through the metrics and the development and
     ·4· management of Global Privacy Programs, as well as our
     ·5· evaluation and remediation of global data breaches,
     ·6· which I led that Global Privacy practice.
     ·7· · · ·And I was in charge with only applying these
     ·8· skills, but I was in charge with educating and teaching
     ·9· this to my global team.
     10· · · ·Q.· · Sure.
     11· · · ·A.· · And to answer your question more
     12· specifically, yes, at a very high level in sort of
     13· helping my clients to understand the overall valuation
     14· of their page.
     15· · · ·Where they should be spending time with respect to
     16· engagement and driving engagement that impact their
     17· business, and revenue for their business, we do apply
     18· these statistical models and methodologies, excuse me.
     19· · · ·Q.· · When were you employed by Striker
     20· Corporation?
     21· · · ·A.· · I would have started with Striker in 2012,
     22· and I left late 2021.
     23· · · ·Q.· · And did Striker Corporation, when you were
     24· there, did you work with any people who performed
     25· statistical analysis?

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     ·1· · · ·A.· · I did.· I worked in partnership with our
     ·2· Cyber Security Teams, with our Data Analytics Teams, and
     ·3· of course with my privacy team, which included privacy
     ·4· engineers.
     ·5· · · ·Q.· · Okay.· So the Data Analytics Team -- so did
     ·6· Striker Corporation -- it sounds like had a separate
     ·7· team or department that their job was data analytics, is
     ·8· that correct?
     ·9· · · ·A.· · That's correct.· For large data sets, but
     10· specific to the management and implementation of the
     11· privacy program, that would have been managed by my
     12· team.
     13· · · ·Q.· · And --
     14· · · ·A.· · -- some times in conference with that team,
     15· but most certainly did those evaluations.
     16· · · ·Q.· · Okay.· And as part of that you and your team
     17· had to perform some types of statistical analysis, is
     18· that right?
     19· · · ·A.· · We did.
     20· · · ·Q.· · And how did you learn -- or did you
     21· personally perform that statistical analysis, or did you
     22· rely on others or work with others?
     23· · · ·A.· · Both.· I performed some on my own.· For
     24· the first three years of the program I was managing that
     25· program, the global program, by myself.

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     ·1· · · ·So I would have been responsible for the day-to-day
     ·2· operations and management and evaluation of programs
     ·3· like our Data Analytics Program.
     ·4· · · ·As the team grew, I again was responsible for
     ·5· training, educating, and monitoring the activities of
     ·6· the people on my team.
     ·7· · · ·Q.· · Does your expertise -- what did you say?
     ·8· I don't want to misquote you.· Did you say statistical
     ·9· analysis, or data analytics?· What did you say your
     10· expertise is what?
     11· · · ·A.· · My expertise is in evaluating data, and
     12· drawing correlations between data and activity, using
     13· the Pearson Coefficient, Correlation Coefficient, and
     14· Regression modeling.
     15· · · ·Striker would use that to design and engineer our
     16· privacy program to maintain it, as well as to evaluate
     17· the relationship between our activities and the health
     18· of our program, with trends in our data breach
     19· management processes, and impacts.
     20· · · ·Q.· · And would you say that your expertise in the
     21· Pearson and Regression Analysis comes from your
     22· knowledge, skill, experience, training, or education,
     23· or combination of them?
     24· · · ·A.· · I would say as a combination of them.
     25· What I'm extremely adept at is what I do -- what I've

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     ·1· done for Striker, for 3-M.· What I'm currently for my
     ·2· customers is combining both the quantitative data and
     ·3· insights from the data, to the qualitative data.
     ·4· · · ·And so when you look at -- for example in this
     ·5· case, it would be using those statistical models, but
     ·6· also overlaying it with my expertise in evaluating
     ·7· trends and data to be analyzing those to be able to draw
     ·8· those -- to be able to draw the correlations between the
     ·9· activity and what we see through a more qualitative
     10· model, like the Pearson Model, or the Regression
     11· modeling.
     12· · · ·Q.· · Have you had any formal education in where
     13· you were taught Pearson or Regression Analysis?
     14· · · ·A.· · What do you mean by formal education?
     15· · · ·Q.· · Sure.· Did you take any class at a -- you
     16· already said you didn't take any statistical class in
     17· high school, right?
     18· · · ·A.· · Correct.
     19· · · ·Q.· · So after high school, did you take any
     20· classes in college, or maybe you just paid for a class
     21· outside of college, or anywhere?
     22· · · ·Did you take any formal classes where you were
     23· taught the Pearson and Regression Analysis?
     24· · · ·A.· · So again, Pearson and Regression Analysis,
     25· and other statistical methodologies, would have been a

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     ·1· part of some of my other core classes that I was taking.
     ·2· · · ·It would not have been a statistics class.
     ·3· Again, a full credit statistics class, either in
     ·4· undergrad, law school, or thereafter in my formal
     ·5· training as a Privacy Expert.
     ·6· · · ·But certainly as a privacy expert, and in my
     ·7· training in Cyber Security and Technology, that these
     ·8· are components that would have been included in broader
     ·9· training, yes.
     10· · · ·Q.· · Okay.· All right.· Let's start with the part
     11· of the core classes.· What core classes did you take
     12· where Pearson or Regression Analysis was involved?
     13· · · ·A.· · Sir, I can't -- let me explain something.
     14· I cannot tell you what each component of my
     15· undergraduate classes it would have been, other than I
     16· was a psychology minor, and Statistical Analysis in
     17· Psychology was a core part of our assessment and
     18· evaluating training.
     19· · · ·I can't point specifically as to which class that
     20· would have occurred in or at what time, over my four
     21· year degree that would have happened.· I just cannot
     22· remember back that far.
     23· · · ·Q.· · Have you --
     24· · · ·A.· · -- go ahead.
     25· · · ·Q.· · Have you taken any classes, or participated

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     ·1· in any training, where statistical analysis was the core
     ·2· aspect of the class or training?
     ·3· · · ·A.· · I've already said, no.· That it was not --
     ·4· it wouldn't have been the core aspect of the class or
     ·5· training, but it would have been a part of a broader
     ·6· education, and part of the curriculum with respect to
     ·7· data analysis, threat and -- data breach and threat
     ·8· analysis, which it would have been apart of my broader
     ·9· training.
     10· · · ·Q.· · Okay.· Do you have certificates in
     11· statistical analysis?
     12· · · ·A.· · No.· I have certificates as a Certified
     13· Information Privacy Professional in the US, and in
     14· program management, which both contain critical
     15· components of data breach management, program
     16· management, that apply these principles regularly.
     17· · · ·Q.· · So in the privacy context, and the classes
     18· and the training's you've taken for privacy, if I'm
     19· understanding right, there are components of that
     20· training and education that encompassed Pearson and
     21· Regression Analysis, is that right?
     22· · · ·A.· · Absolutely.
     23· · · ·Q.· · Okay.· So in --
     24· · · ·A.· · -- and to be clear, in other models these two
     25· are the most relevant obviously, because these are the

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     ·1· sure.
     ·2· · · ·Q.· · Okay.· And in the past five years, do you
     ·3· have a sense of how many times you've analyzed data
     ·4· yourself performed a Regression Analysis?
     ·5· · · ·A.· · Probably a number akin to my use of the
     ·6· Pearson Methodology.
     ·7· · · ·Q.· · Okay.· So it could be somewhere between
     ·8· fifty and a hundred?
     ·9· · · ·A.· · Sir, I would not be able to tell you a
     10· precise number.
     11· · · ·Q.· · Have you ever previously provided any sworn
     12· testimony, whether it be a deposition, or in a court,
     13· regarding any statistical analysis that you performed?
     14· · · ·A.· · I believe I've already answered that, no.
     15· · · ·Q.· · Other than the training that you had for
     16· privacy certifications, were you taught anywhere else,
     17· you know, even if it's just by a coworker an individual,
     18· how to perform Pearson or Regression Analysis?
     19· · · ·A.· · So informally, for sure.· As I do with my
     20· practice across the board, I read articles, and inform
     21· myself on the different applications of the models.
     22· · · ·For example, in my transition to social media to
     23· understand how to extrapolate trends and data using
     24· these models for social media, would have been something
     25· that I read up on and learned, and been apart of

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     ·1· conversations with colleagues, and more informally for
     ·2· sure.
     ·3· · · ·Q.· · So with regards to your specific application
     ·4· of Pearson and Regression Analysis, for evaluating
     ·5· social media engagements and affects on sales, is that
     ·6· something that you would consider kind of self-taught?
     ·7· · · ·A.· · What do you mean?· I don't understand what
     ·8· you mean by self-taught versus what?
     ·9· · · ·Q.· · Sure.· You have ever taken any classes or
     10· participated in any formal training where you were
     11· taught how to use Regression or Pearson Analysis, for
     12· evaluating social media engagement in any way?
     13· · · ·A.· · Sir, what I do is novel.· I don't know how
     14· many social media lawyers you've met, but everything is
     15· learned and applied based on -- in this niche, based on
     16· doing.
     17· · · ·Q.· · Okay.
     18· · · ·A.· · And so applying what I have learned in my
     19· training, my experience, my prior education to what I'm
     20· providing and what I do rely on colleagues in different
     21· capacities to pressure test and to opine on.
     22· · · ·I'm thinking about data, where I'm carving out a
     23· specific niche.· There's probably less than a hundred
     24· social media lawyers in the county.
     25· · · ·So there -- my point being, that there are no

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     ·1· specific classes to my knowledge that specifically
     ·2· provide this sort of education directly.
     ·3· · · ·Q.· · I understand.· So you're taking what you
     ·4· learned with regard to statistical analysis for --
     ·5· originally for Privacy and Cyber Security, right?
     ·6· · · ·That's where you originally learned it and applied
     ·7· it, in privacy and Cyber Security?
     ·8· · · ·A.· · And in psychology, correct.
     ·9· · · ·Q.· · In psychology.· Thank you.
     10· · · ·And now you are taking that knowledge and you are
     11· applying it to analyze social media engagement, correct?
     12· · · ·A.· · Right.· Now I did not invent that.· So there
     13· are white papers in terms of available sort of expanding
     14· on the use of these models in this way, but you asked me
     15· about formal education.
     16· · · ·There is no formal education in this space, for
     17· this sort of applied statistical methodology to social
     18· media, formally, or in any educational institution to my
     19· knowledge.
     20· · · ·Q.· · ·All right.· I'm going to show -- just go
     21· through these quickly, because you produced to me a
     22· series of articles in response to the request for a --
     23· or the subpoena duces tecum that we had served on you.
     24· · · ·So I wanted to show these to you, and we'll mark
     25· these -- what number are we on, No. 6, all right.

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     ·1· · · ·Q.· · All right.· So in reviewing, did you find
     ·2· that this article that we're looking at here was
     ·3· accurate in its explanation of Regression Analysis and
     ·4· its applications?
     ·5· · · ·A.· · At a high level, absolutely, which is why I
     ·6· provided it.· Again, with respect to the application to
     ·7· social media.
     ·8· · · ·That requires a keen expertise and knowledge about
     ·9· how the metrics and analytics within a social media
     10· platforms work, which is a separate skill set, an area
     11· of expertise that's necessary to insure the accurate and
     12· appropriate application of either model or methodology
     13· used.
     14· · · ·So with respect to social media, an analysis with
     15· respect to social media, that qualitative portion is
     16· extremely important to understand with respect to how
     17· metrics are used, social media metrics specifically.
     18· · · ·Q.· · Okay.· On Page 3 of this article discusses
     19· different types of Regression Analysis; Linear
     20· Regression, Multiple Linear Regression, and Non Linier
     21· regression.
     22· · · ·Which type of Regression Analysis did you apply
     23· in this case?
     24· · · ·A.· · As my report says, a Linear Model.
     25· · · ·Q.· · And why did you choose a Linear Model?

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     ·1· · · ·A.· · Because the Linear Model is going to show a
     ·2· direct relationship between -- and just let me, because
     ·3· I don't want to misspeak.
     ·4· · · ·It's going to show a direct relationship between
     ·5· the estimated sales, and the engagement metrics that
     ·6· predict how increases in the metric again, that
     ·7· qualitative input that we're taking from social media;
     ·8· likes, comments, shares, are applied.
     ·9· · · ·Q.· · And how did you determine that there was a
     10· Linear relationship between sales and those social media
     11· engagement metrics?
     12· · · ·A.· · So you use sales as a fixed variable, and
     13· then the social media engagement as -- engagement
     14· metrics that show -- that are used as independent
     15· variable.
     16· · · ·And so that's how you relate the engagement and the
     17· impact on sales.
     18· · · ·Q.· · Did you consider --
     19· · · ·A.· · -- so using those actual data points for
     20· that.
     21· · · ·Q.· · Okay.· Did yo consider any other independent
     22· variables in your analysis?
     23· · · ·A.· · Outside of the social media metrics?
     24· · · ·Q.· · Yes, ma'am.
     25· · · ·A.· · No.

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     ·1· combination of likes, comments, and shares, correct?
     ·2· · · ·A.· · Correct.
     ·3· · · ·Q.· · So the relationship between the number of
     ·4· likes, comments, and shares combined, and sales were
     ·5· linear.· Why did you make that assumption?
     ·6· · · ·A.· · Based on what I saw in the data, and again my
     ·7· experience in the impact of social media engagement on
     ·8· revenue, and on -- I guess, various other -- in this
     ·9· case we're looking at sales, but that relationship
     10· between likes, comments, and shares, would have to be a
     11· linear relationship to make the methodology applicable
     12· in this case.
     13· · · ·Q.· · Okay.
     14· · · ·A.· · And so that's the assumption that that is a
     15· linear relationship.
     16· · · ·Q.· · And a linear relationship in this context
     17· means as a trend, as engagement goes up, you should see
     18· sales go up as well, correct?
     19· · · ·A.· · Or vice-versa.· When engagement goes down,
     20· you'll see a down trend in sales.
     21· · · ·Q.· · Okay.· Did you do anything to verify that
     22· the relationship between engagement and sales was indeed
     23· linear?
     24· · · ·A.· · So again, the selection of the criteria used
     25· from the sales data was that assessment, right?· So it's

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     ·1· looking both at trends in the sales data, but then also
     ·2· that correlates just based on a assessment of activity
     ·3· on the page.· How one impacted the other.
     ·4· · · ·So that would have been a bilateral assessment of
     ·5· how those trends would married up.
     ·6· · · ·Q.· · Okay.· All right.· The next assumption is
     ·7· that external factors not included in the model, such as
     ·8· market trends on or offline marketing activities, held
     ·9· constant, or had a negligible affect during the analysis
     10· period.· Why did you make that assumption?
     11· · · ·A.· · Again, I think you may have mentioned it
     12· earlier, I wasn't privy to information with respect to
     13· what other external marketing factors there may been,
     14· but based on my prior experience in applying this
     15· methodology.
     16· · · ·What I can say is looking at direct engagement
     17· metrics within the platform, likes, comments, and
     18· shares, and the corresponding impact on sales to
     19· determine whether or not there's a linear relationship
     20· based on a range of a negative one, two positive ones.
     21· · · ·And determining within that statistical range is --
     22· can be determined to be a linear relationship using the
     23· metrics in which I used, which was would the engagement
     24· metrics would be sufficient to support the evaluation
     25· using the Pearson's model.

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     ·1· · · ·A.· · That's correct.
     ·2· · · ·Q.· · But in the data that was considered here
     ·3· in Exhibit A, from this data you can't tell whether on
     ·4· 3/1 or 3/27/19, there was also a BOGO sale, correct?
     ·5· · · ·A.· · For the purposes of this analysis, that is
     ·6· not sort of the focus of the chart that you see here.
     ·7· · · ·Again, it wasn't that it wasn't considered.· It's
     ·8· that it is not reflected here as a driver, the linear
     ·9· relationship between sales and engagement from the
     10· prospective of posts, likes, shares, and comments in the
     11· aggregate.
     12· · · ·Q.· · Right.· And that goes back to what we started
     13· with, that those external factors, meaning other than
     14· the posts themselves, an assumption was that they held
     15· constant, or had a negligible affect during the analysis
     16· period, right?
     17· · · ·A.· · Outside of what I just said, that there was
     18· -- there is an indication, that as it relates to overall
     19· engagement and the management of the page, that if there
     20· was a sale day, if there was a BOGO day, yes.· That
     21· would be associated with -- that could be associated
     22· with the spikes and sales.
     23· · · ·Q.· · Could, but we don't -- you don't know.
     24· · · ·A.· · I don't know what you mean by I don't know.
     25· I can't explain to you --

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     ·1· · · ·Q.· · -- sure, you didn't --
     ·2· · · ·A.· · -- how I know anymore than I already have.
     ·3· · · ·Q.· · Right.· But you didn't do any type of
     ·4· statistical analysis to see if any particular sale, such
     ·5· as BOGO, as you just said, had an impact a driving force
     ·6· on the sales numbers for a particular day?
     ·7· · · ·A.· · That specific analysis is not included in my
     ·8· assessment or report.
     ·9· · · ·Q.· · Okay.· So if we look at the data, and we
     10· already said from a trained prospective linear
     11· relationship means as the independent variable, here
     12· engagement goes up or down.· The dependent variable
     13· here, sales will correspondingly go up or down, correct?
     14· · · ·A.· · Correct.
     15· · · ·Q.· · All right.· So then if we go to these
     16· particular days, let's just look at 11/29, we have a
     17· $195,000 in sales on -- let's see, that's like 83, about
     18· ten -- approximately 10,000 likes, comments, and shares,
     19· is that -- and we can add it up specifically, but do you
     20· agree with that math?
     21· · · ·A.· · We can add it up.· I'm sure it's --
     22· · · ·Q.· · -- 2922 likes, plus 5371 comments, plus 1931
     23· shares, is 10,224 elements of engagement.· Does that
     24· sound right?
     25· · · ·A.· · It sounds right.

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     ·1· · · ·Q.· · All right.· So then a couple of days later on
     ·2· 12/1, and a linear relationship from a trend prospective
     ·3· would say, if we had more items of engagement, sales
     ·4· should go up, right?
     ·5· · · ·A.· · Right.· Within a certain range, and there
     ·6· are factors that could -- you could see an opposite
     ·7· relationship.
     ·8· · · ·Q.· · Okay.
     ·9· · · ·A.· · Which is why you saw in my report that I said
     10· that there is a moderate relationship.· We didn't --
     11· it's not over sold.
     12· · · ·We accounted for sort of the departure from that
     13· positive linear relationship that we saw on the -- on
     14· the day that you just cited.
     15· · · ·Q.· · Sure, yes.· So for 12/1, if we add up the
     16· likes, comments, and posts, we get a 11,276, which is
     17· approximately a thousand more than on 11/29, but
     18· sales are 624.
     19· · · ·A.· · So the way that you're looking at this sort
     20· of as an individual sales day versus taking the entirety
     21· of the data here and computing it across this period of
     22· time that we're analyzing, is not going to give you an
     23· accurate picture of the linear relationship between
     24· these things.
     25· · · ·Q.· · Right, because the --

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     ·1· · · ·A.· · -- go ahead.
     ·2· · · ·Q.· · No, go ahead.· I'm sorry.
     ·3· · · ·A.· · That's my point.
     ·4· · · ·Q.· · Sure.
     ·5· · · ·A.· · You can compute -- all you want, and it's not
     ·6· going to give you the picture of what happened over time
     ·7· with respect to the impact of engagement on the page on
     ·8· sales.
     ·9· · · ·Q.· · Right.· And that's because when you say it's
     10· a linear relationship, that's just the trend line.
     11· · · ·A.· · That's correct.
     12· · · ·Q.· · Not the -- it's not absolute for every day,
     13· correct?
     14· · · ·A.· · That's correct.
     15· · · ·Q.· · And that's because there can be other factors
     16· that come in to play, that drive -- that can impact the
     17· dependent variable sales, correct?
     18· · · ·A.· · Sure.
     19· · · ·Q.· · So for instance here, we have 11/29, and
     20· 11/28, got a lot of -- of high sales those two days,
     21· which happened to also be the two days after
     22· Thanksgiving.
     23· · · ·A.· · Which guaranteed there was a promotion that
     24· was run on those days.
     25· · · ·Q.· · Okay.

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     ·1· · · ·A.· · Based on the timing of the year, and based on
     ·2· the numbers.
     ·3· · · ·Q.· · Right.· So the promotion itself may have
     ·4· driven sales during those two Black Friday days,
     ·5· correct?
     ·6· · · ·A.· · Likely.
     ·7· · · ·Q.· · And then a couple of days later, when people
     ·8· have already spent on 11/30, you get another hundred
     ·9· grand, but now they're out of -- everybody has already
     10· bought by 12/1, right?
     11· · · · · · ·MR. CONVERSE:· Objection to form.
     12· · · · · · ·MR. THOMPSON:· Thank you.
     13· BY MR. THOMPSON:
     14· · · ·Q.· · That could be a reason why sales are lower
     15· on 12/01, correct?
     16· · · · · · ·MR. CONVERSE:· Objection, form.
     17· · · · · · ·THE WITNESS:· Potentially.
     18· BY MR. THOMPSON:
     19· · · ·Q.· · All right.
     20· · · ·A.· · And it would be a more robust story to tell
     21· if you could look at the corresponding sales data from
     22· 2023 and 2024 to see if there's similar patterns based
     23· on similar activity.
     24· · · ·Q.· · Okay.· Well you've got '19 -- sales data for
     25· 2019, 2020, 2021 --

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     ·1· · · ·Q.· · Okay.
     ·2· · · ·A.· · All the way to the impact.· There you go.
     ·3· · · ·Q.· · Okay, got it.
     ·4· · · ·A.· · All right.· So you'll start to see -- excuse
     ·5· me, in the summary here for simplicity sake, the
     ·6· coefficient correlations here, the value is given based
     ·7· on the data above, and I think I broke that down between
     ·8· Kayla's tenure, and post Kayla's tenure.
     ·9· · · ·Q.· · All right.· And for instance it shows during
     10· her tenure engagement and sales correlation, moderate
     11· positive correlation.· You say, coefficient 1.0418, with
     12· the p-value of 1543, that's the result of a Regression
     13· Analysis that you performed?
     14· · · ·A.· · No.· This would have been the sale
     15· correlation.
     16· · · ·Q.· · The sales -- that's a Regression Analysis, or
     17· a Pearson Analysis?
     18· · · ·A.· · Yep.· So these, if you go back to the
     19· Regression Analysis, you'll see these same figures --
     20· let me find it in the Pearson's Analysis.
     21· · · ·Q.· · Okay.· And to get those, that's some things
     22· that you used -- what program do you use?· Is it Excel,
     23· or some other program?
     24· · · ·A.· · Yes.
     25· · · ·Q.· · Excel?

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     ·1· · · ·A.· · I use Excel and I use --
     ·2· · · ·Q.· · -- and so you input the data into Excel,
     ·3· and you ask it to run a Regression or a Pearson
     ·4· analysis, and it spits out these coefficients, p-values,
     ·5· R-squared, those kind of things, right?
     ·6· · · ·A.· · Correct.
     ·7· · · ·Q.· · Where are those -- where is that Regression
     ·8· analysis?· Where is the output from the data set that
     ·9· you put in, where you asked it to do the Regression and
     10· Pearson Analysis?
     11· · · ·A.· · You see it here, those are the calculations
     12· done in real time, and added to the report.
     13· · · ·Q.· · Okay.
     14· · · ·A.· · There's no corresponding work product to
     15· provide to you.
     16· · · ·Q.· · And so Excel doesn't have a -- doesn't
     17· produce a chart that says this is the data that was put
     18· in, and here's the r-squared, here's the p-value.
     19· · · ·A.· · So what you see is what I have in my records.
     20· · · ·Q.· · Right.· But isn't there a Excel document, or
     21· the Excel file that an be saved?
     22· · · ·A.· · So in general -- I may have calculated these
     23· in real time.· I'd have to go back through sort of, and
     24· remember how I came up with these particular values.
     25· · · ·I don't have any sort residual work product to hand

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     ·1· over.· I would have handed that over in a production
     ·2· order.
     ·3· · · ·Q.· · So if I'm trying to recreate that, and get
     ·4· that coefficient of .418 and the p-value of 1.543, I'd
     ·5· input the data that you have in Exhibit A into Excel,
     ·6· is that right?
     ·7· · · ·A.· · You could, yes.
     ·8· · · ·Q.· · Well, not I could.· I'm trying to -- how do
     ·9· I recreate, how do I verify that the coefficient --
     10· · · ·A.· · -- you'd have to formulate and format an
     11· Excel Spread Sheet to be able to produce this output.
     12· · · ·Q.· · Okay.· Tell me how to do that with what we
     13· have here.
     14· · · ·A.· · Sir, I'd have to -- actually do, I cannot
     15· recreate.· It's a complex -- this is a program that I
     16· use.· I don't save the data.
     17· · · ·Q.· · But the input data that you used is all --
     18· · · ·A.· · -- it's an Excel calculator --
     19· · · ·Q.· · -- in Exhibit A, correct?
     20· · · ·A.· · It's an Excel calculator.
     21· · · ·Q.· · Sure.· But you've got to input data.
     22· · · ·A.· · Correct.
     23· · · ·Q.· · And the data that you input, is that what is
     24· shown in Exhibit A to your report?
     25· · · ·A.· · That is correct.

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     ·1· · · ·Q.· · Did you input all of this data, or just the
     ·2· subset of it?
     ·3· · · ·A.· · I would have included all of this data.
     ·4· · · ·Q.· · So then for the likes, comments, and shares,
     ·5· did you aggregate them up and that's what you used as
     ·6· the independent variable?
     ·7· · · ·A.· · For each day.
     ·8· · · ·Q.· · And then input the sales as the dependent
     ·9· variable?
     10· · · ·A.· · The dependant variable, correct.
     11· · · ·Q.· · And then you ask it, okay, give me a
     12· Regression Analysis, and when you did that it showed a
     13· coefficient of .488, is that right?
     14· · · ·A.· · That's what it looks like, sir, yes.
     15· · · ·Q.· · For the data from 2019 to 2022?
     16· · · ·A.· · '22, correct.
     17· · · ·Q.· · All right.· And the post 2023 Kayla period,
     18· as shown on Page 11 of the report, which is in Exhibit
     19· B, we go back to the data in your Exhibit A.· That's the
     20· data that's starting on January 6, 2023, running through
     21· the March 13, 2024, correct?
     22· · · ·A.· · So that would have been including 2023 and
     23· 2024, minus the sales data.
     24· · · ·Q.· · Okay.
     25· · · ·A.· · So you'd have to use -- I can look at my

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     ·1· report, but you'd have to use what we -- the strategic
     ·2· process for the Regression Analysis to estimate the
     ·3· relationships between the variable, and then compute it.
     ·4· · · ·Q.· · Okay.
     ·5· · · ·A.· · And that gives a predictive model.
     ·6· · · ·Q.· · All right.· And it shows here you got
     ·7· engagement and sales correlation for the post Kayla
     ·8· period 2023, with a profit negative correlation, with
     ·9· the coefficient of negative one, and a p-value of zero.
     10· · · ·A.· · Again, that may change based on the
     11· implementation or addition, or actual sales data, which
     12· again I did not have.
     13· · · ·Q.· · So what sales data then did you use for
     14· running this Regression Analysis for the post Kayla
     15· period, 2023 to 2024, when your Exhibit A has no sales
     16· data from 2023 to 2024?
     17· · · ·A.· · Yes.· So we would have used -- for that let
     18· me just reference my notes so that I can accurately
     19· represent what went in to that post Kayla period.
     20· · · · So that post Kayla period would have included --
     21· the social media engagement along with the predictive
     22· modeling of what the sales would have been using the
     23· criteria on the other page.· So the projected sales for
     24· 2023 and 2024.
     25· · · ·Q.· · So as I understand it, the predicted modeling

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     ·1· and the projected sales is what you determined to be the
     ·2· sales for the entire year of 2023, and then the entire
     ·3· years of 2024, correct?
     ·4· · · ·A.· · That's the only way that I could do it with
     ·5· the data that I was provided.
     ·6· · · ·Q.· · Sure.· Then but for the post Kayla analysis
     ·7· period the Regression Analysis that you did, where you
     ·8· said you used the data from this Exhibit A, for the
     ·9· years 2023 and 2024.· These are particular days on here,
     10· not entire years.
     11· · · ·A.· · Correct, because I'd have to get some --
     12· based on the information that I had, an indication of
     13· what engagement would have been on an average over the
     14· period of time.
     15· · · ·So you don't divorce the data that you do have,
     16· which is the engagement metric from the social media
     17· pages over that time to give an indication of how the
     18· page was performing, even though you can't directly
     19· related that for the sales data for that time because
     20· it's absent.
     21· · · ·So if you look at the corrected figures and
     22· calculations you'll see the projected sales, everything
     23· that we went over before, for 2023 and 2024,
     24· · · ·Q.· · Okay.· What I'm trying to figure out here is
     25· for this time period 2023 to 2024, which you call the

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     ·1· post Kayla period.· You provide results from the
     ·2· Regression Analysis being a perfect negative
     ·3· correlation, meaning a coefficient of negative one and
     ·4· p-value of 0.0, correct?
     ·5· · · ·A.· · Based on projected sales for 2023 and 2024.
     ·6· · · ·Q.· · Okay.· So the dependant variable was the
     ·7· projected -- to run this Regression Analysis here, you
     ·8· used the projected sales for 2023 and 2024, is that
     ·9· right, as your dependant variable?
     10· · · ·A.· · The outcome variable and the predictors,
     11· which would be the social media engagement.
     12· · · ·Q.· · All right.· So then your dependent variable
     13· for the Regression Analysis for 2023, would have been
     14· $13,419,982.29, is that right?
     15· · · ·A.· · Yes.· I'd have to go back through and
     16· calculate to insure that that's consistent with what the
     17· results we got in the Regression Analysis, but I think
     18· it's safe to say.
     19· · · ·Q.· · Okay.· But you didn't keep the Regression
     20· Analysis I thought.
     21· · · ·A.· · I didn't.· That's what I said, I'd have to go
     22· back through and calculate it from the data provided.
     23· · · ·Q.· · And your memory then, the dependent variable
     24· for the sales for 2024, would have been the
     25· $14,444,797.03 that you projected sales for 2024 to be,

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     ·1· correct?
     ·2· · · ·A.· · Correct.
     ·3· · · ·Q.· · All right.· So you've got those two
     ·4· independent variables for your Regression Analysis for
     ·5· the 2023-2024 period.· What were your independent
     ·6· variables for those two dependant variables?
     ·7· · · ·A.· · Again, it would have been an average of the
     ·8· social media engagement for the time selected, using the
     ·9· same methodology used for 2019 to 2022.
     10· · · ·Q.· · So the average, meaning going back to your
     11· Exhibit A, you would have -- starting with this data
     12· point for 1/6/23, you would have added up that
     13· engagement for that particular day, and then done the
     14· same for each of the several days you have here, which
     15· determines what the total -- the average --
     16· · · ·A.· · -- the aggregate sum.
     17· · · ·Q.· · Okay.· So for 2023, you would have added up
     18· all this engagement here, starting with that 3,700 likes
     19· on January 6, 2023,
     20· · · ·Added all of the 2023's up, and divided it by the
     21· number of days for which you have data in 2023, is that
     22· right?
     23· · · ·A.· · It still doesn't give you sort of perfect
     24· score.· Again, without having the benefit of the
     25· corresponding sales data, but yes.

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                    Melia Arnett-Archie, JD, CIPP/US, CIPM on 09/04/2024
                                                                             Page 147
     ·1· · · ·For the independent variable that would have been
     ·2· the approach.
     ·3· · · ·Q.· · Sure.· And I'm just trying to figure out what
     ·4· you did to get that perfect negative correlation, you
     ·5· know, that result that you had.· I'm trying to figure
     ·6· out how we replicate this analysis.
     ·7· · · ·So, all right.· Have you ever done a Regression
     ·8· Analysis before where you had a perfect negative
     ·9· correlation?
     10· · · ·A.· · No.
     11· · · ·Q.· · And again, this may be skewed based on sort
     12· of the data you had to work with.· So given actual sales
     13· data for 2023 and 2024, we may have a different
     14· relationship.
     15· · · ·I still think you'll see that from a correlations
     16· standpoint linear relationship to the activity, and the
     17· sales data, based on what we've seen before, but without
     18· having the actual sales data.· This is sort of the best
     19· that we could do.
     20· · · ·Q.· · All right.· I'm a little confused on this
     21· here.· So I'm on Page 9 of your report here under the
     22· 2020.· Talking about the value -- under the heading,
     23· value estimation Regression Analysis 2020
     24· · · ·Talking about July 30th of 2020.· So you say a
     25· correlation analysis revealed a very strong positive

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